
652 S.E.2d 650 (2007)
Hung NGUYEN
v.
BURGERBUSTERS, INC.
No. 216P07.
Supreme Court of North Carolina.
October 11, 2007.
James Exum, for Burgerbusters.
Kenneth Keller, William J. McMahon, IV, Greensboro, for Nguyen.
Prior report: ___ N.C.App. ___, 642 S.E.2d 502.

ORDER
Upon consideration of the petition filed on the 8th day of May 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
